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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

                                                                        )
In re:                                                                  )
                                                                        )   Chapter 11
                                                           1
HIGHLAND CAPITAL MANAGEMENT, L.P.,                                      )
                                                                        )   Case No. 19-34054 (SGJ)
                              Debtor.                                   )
                                                                        )
                                                                        )
                                                                        )
HIGHLAND CAPITAL MANAGEMENT, L.P.,                                      )
                                                                        )
                             Plaintiff,                                 )   Adv. Proc. No: 21-03003 (SGJ)
                                                                        )
vs.                                                                     )   Case No: 3:21-cv-01010-E
                                                                        )
JAMES DONDERO,                                                          )
                                                                        )
                             Defendant,                                 )
                                                                        )

                                      CERTIFICATE OF SERVICE

      I, Vincent Trang, depose and say that I am employed by Kurtzman Carson Consultants
LLC (“KCC”), the claims and noticing agent for the Debtor in the above-captioned case.

        On August 6, 2021, at my direction and under my supervision, employees of KCC caused
the following document to be served via Electronic Mail upon the service list attached hereto as
Exhibit A; and via First Class Mail upon the service list attached hereto as Exhibit B:

      •   Plaintiff Highland Capital Management, L.P.’s Certificate of Interested Persons
          [Docket No. 7]

                                                          /s/ Vincent Trang
                                                          Vincent Trang
                                                          KCC
                                                          222 N Pacific Coast Highway, Suite 300
                                                          El Segundo, CA 90245



1
  The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
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                         EXHIBIT A
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                                                               Exhibit A
                                                        Civil Action Service List
                                                       Served via Electronic Mail

          Description                  CreditorName               CreditorNoticeName                         Email
                                                                                          john@bondsellis.com;
                                                             John Y. Bonds, III, John T.  john.wilson@bondsellis.com;
                                                             Wilson, IV, Bryan C. Assink, bryan.assink@bondsellis.com;
                                Bonds Ellis Eppich Schafer   Clay M. Taylor, William R.   clay.taylor@bondsellis.com;
Counsel for James Dondero       Jones LLP                    Howell, Jr.                  william.howell@bondsellis.com
Financial Advisor to Official                                Earnestiena Cheng, Daniel H Earnestiena.Cheng@fticonsulting.com;
Committee of Unsecured          FTI Consulting               O'Brien                      Daniel.H.O'Brien@fticonsulting.com
                                                             Melissa S. Hayward, Zachery MHayward@HaywardFirm.com;
Counsel for the Debtor          Hayward & Associates PLLC    Z. Annable                   ZAnnable@HaywardFirm.com
                                                                                          mclemente@sidley.com;
                                                             Matthew Clemente, Alyssa     alyssa.russell@sidley.com;
Counsel for Official Committee                               Russell, Elliot A. Bromagen, ebromagen@sidley.com;
of Unsecured Creditors         Sidley Austin LLP             Dennis M. Twomey             dtwomey@sidley.com
                                                                                          preid@sidley.com;
                                                             Penny P. Reid, Paige Holden pmontgomery@sidley.com;
Counsel for Official Committee                               Montgomery, Juliana Hoffman, jhoffman@sidley.com;
of Unsecured Creditors         Sidley Austin LLP             Chandler M. Rognes           crognes@sidley.com




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                         EXHIBIT B
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                                                                        Exhibit B
                                                                 Civil Action Service List
                                                                Served via First Class Mail
                           CreditorName               CreditorNoticeName                   Address1              City   State    Zip
                                                 John Y. Bonds, III, John T.
                    Bonds Ellis Eppich Schafer   Wilson, IV, Bryan C. Assink, Clay 420 Throckmorton Street,
                    Jones LLP                    M. Taylor, William R. Howell, Jr. Suite 1000                 Fort Worth TX     76102




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